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              Exhibit 26
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                                                Detective Brent Chisolm
                                                     February 21, 2018

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                      Plaintiff,                                 6     RE-EXAMINATION BY MR. MUNGO:                            79
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               Warren, Michigan                                  22    DEPOSITION EXHIBIT 5                        93
               Commencing at 9:58 a.m.                           23    Affidavit of Gregory A. Murray
               Wednesday,February 21,2018                        24    DEPOSITION EXHIBIT 6                        93
               Before Joanne Marie Bugg,CSR-2592, RPR,RMR,CRR    25    Resignation Letter from Gregory A. Murray


                                                        Page 2                                                          Page 4
        1      APPEARANCES:                                       1   Warren, Michigan                                                   I
        2      LEONARD MUNGO                                      2   Wednesday,February 21,2018                                         j
                                                                  3
        3      The Mungo Law Firm, P.L.C.                             9:58 am.
                                                                  4
        4      333 West Fort Street, Suite 1500
        5      Detroit, Michigan 48226                           5                   DT.BRENT CHISOLM,
        6      313.963.0407                                       6      was thereupon called as a witness herein,and after
        7      mungol16@msn.com                                   7      having first been duly sworn to testify to the truth.
        8         Appearing on behalfofthe Plaintiff.             8      the whole truth and nothing but the truth, was examined
        9      JAMES R. ACHO                                      9      and testified as follows:                                       ;
       10      ELIZABETH RAE-ODONNELL                            10                    EXAMINATION                                       i
       11      Cummings, McClorey, Davis & Acho,P.O.             11   BY MR. MUNGO:                                                      1
       12      17436 College Parkway                             12   Q. Okay. So,sir, this is a deposition that's pursuant to           |
       13      Livonia, Michigan 48152                           13     a civil lawsuit that's currently pending in the Federal          j
       14      734.261.2400                                      14      District Court, Eastern District of Michigan. Desheila
       15     jacho@cmda-law.com                                 15      Hewlett is the plaintiff, and the City of Warren and
       16     erae@cmda-law.com                                  16      others are the defendants. And this deposition, sir, is
       17        Appearing on behalf ofthe Defendants.           17      being taken pursuant to the Federal Court Rules that
       18      ETHAN VINSON                                      18      will be used for purposes ofthis particular case.               j
       19      City of Warren, City Attorney's Office            19             Okay. My name is Leonard Mungo.I dont know
       20      1 City Square, Suite 400                          20      ifI said that already. I represent Ms. HowIetL And
       21      Warren, Michigan 48093                            21      if you would like to take a break at any point in time.
       22      586.574.4671                                      22      you just say so,okay, whatever the reason is.
       23      evinson@cityofwarren.org                          23             I have a very short window today with you.
       24         Appearing on behalf ofthe Defendants.          24      so we're going to dive right into the deposition. I
       25      ALSO PRESENT: Lt. Daniel Bradley                  25      Just have one other note that I'd like to bring to your


                                                                                            1 (Pages 1 to 4}
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                                                 Detective Brent Chisolm
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                                                               Page 5                                                                Page 7
        1     attention, sir, and I think this always saves us some       1        Howlett as a partner, or on occasion as a team,or in
        2     time as we proceed, is that your attorneys will from        2        any capacity? Ifso,could youjust state for the             j
        3     time to time make objections on the record. And what         3       record in what capacity you have worked with [>esheila     j
        4     tends to happen if you're not really familiar with, and      4       Howlett?                                                   1
        5     attend a lot ofdepositions, you can get kind ofcaught       5    A. Yes. I worked with her in the patrol division, and as a
                                                                          6
        6     up in listening to the objections rather than                        detective.
        7     remembering my question. And they only make the             7    Q. Okay. Very good. And for how long, approximately, did
        8     objections after I ask my question. Otherwise,the           8      you work with Ms. Howlett in the patrol division?
        9     objections are not really effective for their purposes.     9    A. I'm not certain.
       10     And they're good lawyers,and they will be doing it. So      10   Q. Do you have like a ballpark? You know, was it like
       11     in order to keep from having to repeat the question         11     more than a year,or less than a year, as best you can?
       12     every time that happens which, you know,extends the         12     And if you don't recall at all, we'll just move on.
       13     time and duration ofthe deposition, if you could just       13   A. I'm not certain.
       14     remember my question, and let them make their objection     14   Q. That's okay. That's fine. And you are a detective now?      j
       15     unless, ofcourse,they're speaking to you and giving         15   A. Yes.
       16     you directions. It would help save us some time.            16   Q. Okay. And you worked with Ms. Howlett while you were a
       17              I'm going to ask you, sir, to state your           17       detective, and she was a detective; is that correct?
       18     fiill, correct and legal spelling of your name for the      18   A. Yes.
       19        record.                                                  19   Q. Okay. Very good. Do you have any memory as to how long
       20   A. Brent Michael Chisolm. B-R-E-N-T M-I-C-H-A-E-L             20     you worked together as detectives, any rough ballpark
       21        C-H-I-S-O-L-M.                                           21     period oftime that you can articulate?
       22
            Q. Okay. Thank you,sir. And are you employed,sir?             22   A. I was promoted as a detective in March of2016. And so
       23   A. Yes.                                                       23       I worked with her since that time period.
       24
            Q. Okay. And by whom are you employed?
                                                                          24   Q. Okay. So 1 can't read my own notes. 1 know I'm the only
       25   A.    The City of Warren.                                     25     one that happens to. I can't read my own note. Okay.


                                                               Page 6                                                                Page 8
        1
            Q- And for how long have you been employed with the City       1       Dt. Chisolm, I'm going to ask you a question about an
        2        ofWarren?                                                 2       occasion which both you and Dt. Howlett were on a
        3   A.    About 10,11 years.                                       3       particular case, and it involved the arrest ofan
        4
            Q. And in what capacity?                                       4       alleged sex offender who you and Dt. Howlett went out
        5   A. I'm currently a detective corporal.                         5       to arrest. This person was a teacher that worked.
        6
            Q. Okay. And have you been employed as a police officer        6       formerly worked at Fitzgerald High School. Does that
        7     for the City ofWarren for that entire period oftime          7       ring a bell?
        8     that you just articulated into the record?                   8   A. Yes.
        9   A. Yes.                                                        9   Q. Okay. And at the time that you went out to arrest this
       10
            Q- Okay. State your gender and your race for the record.      10        individual, you and Dt. Howlett,this person was being
       11        please.                                                  11        held at a behavioral clinic because he was alleged to
       12   A. Male white.                                                12        have attempted suicide. Do you recall that?
                                                                          13
       13
            Q. And I want you to, for the record, state whether or not         A. Yes.
       14        you know the plaintiff in this case, Desheila Howlett?   14   Q. Okay. And you notified dispatch that you were on your
       15   A. Yes.                                                       15     way out there to arrest this individual?
       16
            Q- Okay. Very good. And,for the record,sir, could you         16   A. I don't know if we did that ornot
       17     please state how you come to know Desheila Howlett?         17   Q. You don't know if you did that or not?
       18   A. She was also or is also employed by the Warren Police      18   A. At that point                                               |
       19        Department                                               19   Q. Did you do it at all, notify dispatch that you were on
       20
            Q- Okay. Have you known her since her the beginning of        20     your way out there?
                                                                          21
       21     your employment at the Warren Police Department, or              A. I don't remember if I did that
       22     shortly thereafter?                                         22   Q. Do you remember whether or not it was done by anyone?
       23   A. She started before 1 did, so throughout the entirety of    23   A. Either myself or Dt Howlett would have done that
       24     my employment here I've known her.                          24   Q. Okay. Was it done, or do you know?
       25
            Q. Okay. Very good. Have you ever worked with Desheila        25   A. I'm not certain. Atsome point, I believe Dt Howlett

                                                                               —      .                                               ^   _—i
                                                                                                        2 (Pages 5 to 8)
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                                                                    Page 9                                                           Page 11    i
       1         made that phone call to dispatch.                            1      answer back just a moment ago?
       2
            Q. So dispatch was not notified prior to the phone call to        2                (Requested portion ofthe record was read         |
       3         dispatch?                                                    3                back 10:11 a.m.)                                 |
       4    A.    Correct That's my recollection.                             4          "ANSWER: 1 don't remember exactly if it was by         |
       5
            Q. That's your recollection. And when was the phone call          5          phone or by radio the first time we called. I
       6      made, prior to going out to the location, or after              6          remember there was a phone call that I made to a       |
       7      arriving at the location?                                       7          patrol officer, but I don't remember exactly the
       8    A. After arriving at the location.                                8          first time that a phone call was made,or that we
       9
            Q. Okay. Is that what you typically do?                           9          called somebody on the radio. Those details I
       10   A. Yes.                                                           10         don't remember."
       11
            Q. You usually go to the location, and then call dispatch         11   BY MR. MUNGO:
       12     on the phone?                                                   12   Q. And so when you use the term first time,that suggests
       13   A. On a case-by-case basis sometimes.                             13     to me that there was a second time that a call was         ^
       14
            Q. Okay. Tell me why this particular case dispatch was            14      made. And based on your testimony herejust now, you
       15     notified by telephone rather than, well, strike that.           15      used the word the first time. So are you sure there       |
       16     What is your normal method for notifying dispatch for           16      were not two calls made to dispatch?                      j
       17     the need of backup?                                             17   A. 1 don't know.
       18   A. There are several ways. Either on the radio, or by             18   Q. Okay. So and that's your testimony here today. I just
       19     phone,or have somebody else call for you.                       19      want to be clear what it is, detective, that's all.
       20
            Q. Okay.                                                          20      That you don't know whether or not two calls were made
       21   A- The two primary methods are by phone and by radio.             21      to dispatch for backup on that day. 1 just want to be
       22
            Q. By phone and by radio. Which is the one that is used           22      clear.                                                    |
       23     more frequently, radio or phone?                                23   A. Correct
       24   A. 1 would say about equal.                                       24   Q. Okay. Okay. And is that because you don't recall?
       25
            Q. It's about equal, okay. So your testimony here today is        25   A. Yes.



                                                                    Page 10                                                           Page 12
        1        that the notification to dispatch for backup was not          1   Q. Okay. And so in saying that and,again, I just want to
        2        made until you and Dt. Howlett had arrived at the scene       2      be clear for the record in terms of what your testimony
        3        where you were going to make the arrest; is that              3      is. So in saying that, there could have been two calls
        4        correct?                                                      4      made to dispatch?
                                                                               5   A. Yeah. 1 don't know.
        5   A.    Until we had left the police station. I don't know if
        6        we had actually arrived at the scene,or if we were            6   Q. Okay. All right. So now you have to listen to my
        7        there. I'm not certain.
                                                                               7     question. 1 got that part, okay? That's in the record.     j
        8
            Q. Okay. Okay. So you don't know whether or not the call
                                                                               8     And it'll be there forever. All Tm asking ~
        9        to dispatch, which was by way ofcell phone,and not            9             MR. ACHO: He answered your question. He            |
       10        radio,correct, the first time that you contacted             10      doesn't know.                                             |
                                                                              11   BY MR. MUNGO:
       11        dispatch?
       12   A.    I don't remember exactly.                                   12   Q. All I'm asking you is does that mean that there could     i
       13
            Q. You don't remember what now?
                                                                              13     have been two calls?                                       I
                                                                              14   A. 1 don't know.                                                 1
       14   A.    I don't remember exactly ifit was by phone or by radio
       15        the first time we called. 1 remember there was a phone       15   Q. Is it possible it could have been two calls?
       16        call that I made to a patrol officer, but I don't            16                MR. ACHO: Asked and answered thrice.                i
       17        remember exactly the first time that a phone call was
                                                                              17   A. It's possible, but 1 don't know.
       18        made,or that we called somebody on the radio. Those
                                                                              18   BY MR. MUNGO:                                                    j
       19        details I don't remember.
                                                                              19   Q. All right. So what is your normal practice when you go    {
       20
            Q. Okay. Youjust remember that there were two contacts to
                                                                              20      out before you go out on a call, would you contact        |
       21     dispatch?
                                                                              21      dispatch before you proceed to the location that you're   |
       22   A. 1 don't remember that there were two contacts to
                                                                              22      headed for yourjob for the assignment, or you will
       23        dispatch either. 1 remember at some point dispatch was
                                                                              23      call for backup once you get there?
       24        notified.
                                                                              24   A. In what capacity,as a detective?
       25               MR. MUNGO: Okay. So could you read his
                                                                              25   Q. Oh,1 would be talking about as a detective, because



                                                                                                         3 (Pages 9 to 12)
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                                                              Page 13                                                         Page 15     s
       1      I'm specifically interested in what procedures you were    1    A As part of that investigation, the victim contacted the
       2      following as a detective. And we're specifically           2     suspect about the allegations of the sexual assault He
       3      talking about the situation with you and Desheila          3        told her that he was there.
       4      Hewlett.                                                   4    Q. On that day that you went out to arrest him?
                                                                         5
       5    A. The normal procedure Is not to contact dispatch unless         A    Na
       6      we need additional backup,or if we need uniform patrol     6    Q. Or prior to?
       7      officers for some reason.                                  7    A Prior ta A few days,a day or a couple days before
       8    Q. Okay. All right. What circumstances would that need be    8        that
       9      dictated? Under what circumstances?                        9    Q. Okay. So you had every reason to believe that he was.
       10   A. The normal reason that we call for patrol officers to     10       in all likelihood, there, correct?
       11     come to a scene is to transport a suspect that's been      11   A I suspected he was there. That's why we went there. I
       12      arrested. Other limes would be if there's an issue on     12       don't know if I had every reason to believe. 1
       13     the street that people don't believe in our legitimacy     13       suspected that he was there.
       14     because we're plainclothes, things ofthat nature.          14   Q. Well, yeah, and otherwise you wouldn't have been there
       15   Q. Were you plainclothes that day?                           15       unless you believed that he was there, right?
       16                                                                16   A    Correct
            A. Yes.
       17   Q. Were you driving an unmarked car?                         17   Q. So if you believed that a suspected was there that you
       18   A. Yes.                                                      18     were going to arrest, it wouldn't be appropriate to
       19   Q. So would that be a situation in which backup,since you    19       call for backup at that point? And since you were in    |
       20       were going to arrest this guy, would that be a           20       plainclothes in an unmarked car,that wouldn't be
       21       situation in which backup would have been procedurally   21       appropriate procedurally?
       22       required?                                                22   A No. That's a case-by-case basis.
       23   A. At some point-well,it depends.                            23   Q. Tell me why this case would be different that you
       24   Q. Well, you have to explain that. Okay. You're              24     wouldn't call for a backup in advance of going out
       25     testifying.                                                25     there, since you believed that he was there, and you


                                                              Page 14                                                          Page 16
        1   A. Okay,if we go to a scene,and a person that we want to      1     were in plainclothes and an unmarked car?
        2       arrest isn't there, then we won't call for backup.        2   A. It'sintheCityofWarren,and he didn't have a
        3       Normally we wait until the person -we see the person.     3        violent criminal history.
        4       or we arrest the person before we call for a patrol       4   Q. Okay. That kind of differs fi-om your testimonyjust a
        5       officer to transport that subject                         5        moment ago,right?
                                                                          6
        6   Q. Was that the case in this particular situation with you         A. No.I don't think it does.
        7       and Ms. Hewlett? You didn't know whether or not the       7               MR. ACHO: Counsel,just so there's no
        8       person was there at the behavioral clinic?                8        mischaracterization, I don't think it does. I think
        9   A. I wasn't certain if he was there or not
                                                                          9        he's being consistent Go ahead and answer it
       10   Q. So how did you find out that he was there?                10        thoroughly.
                                                                         11   BY MR. MUNGO:
       11   A. After the patrol officers arrived,1 went inside with
       12       some ofthem. And 1 asked the front desk if he was at
                                                                         12    Q. You have to understand 1 notice you were looking at
       13       the clinic, and they told me that be was about to be     13      counsel as though you were looking for some direction.
       14       discharged.
                                                                         14      This deposition is - you're imder oath.
                                                                         15    A. Yeah.
       15   Q. So you did not know that prior to going out to arrest
       16       him?
                                                                         16    Q. And he's not under oath, and he's testifying.
       17   A. Not with certainty.
                                                                         17                MR. ACHO: He understands.
                                                                         18   BY MR. MUNGO:
       18   Q. Okay. So when you say not with certainty, that means
       19     you had information that he was there?
                                                                         19    Q. You're testifying, and he's not testifying.             j
       20   A    Yes.
                                                                         20                MR. ACHO: He understands all that
                                                                         21   BY MR. MUNGO:
       21   Q. And what's that information based on? Who was that
       22     information provided to you by?
                                                                         22    Q. You cannot follow his direction in terms ofparroting
       23   A. A one party consent call between the victim and the
                                                                         23        anything that he may say.
       24       suspect.
                                                                         24               MR. ACHO: Counsel, 1 gave no direction. 1
       25   Q. Beg your pardon?
                                                                         25        was giving no direction,just so the record is clear.


                                                                                                  4 {Pages 13 to 16)
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                                                                                                                                    |
       1       Ijust stated that you've been consistent. If you          1

       2       remember the question that Mr. Mungo asked you, you can   2              (The requested portion ofthe record was
       3       answer it again.                                          3              read by the reporter at 10:17 a.m.)
        4   BY MR. MUNGO:                                                4          "QUESTION: Tell me why this case would be
       5    Q. So then ifyou're going to arrest someone that you         5          different that you wouldn't call for a backup in
        e      believe is at a particular location, and you're in        6          advance of going out there,since you believed
       7       plainclothes, and you're in an unmarked car, and ifthe    7          that he was there, and you were in plainclothes        j
       8      person does not have any history of violent behavior.      8          and an unmarked car?"                                  i
       9      then you don't need to call for backup. Thafs the          9    BY MR. MUNGO:                                                j
       10     procedures that you've come to learn to follow at the      10   Q. That's good. So you Just heard her read the question      j
       11     Warren Police Department, sir?                             11      and your answer?
       12   A. Everything's on a case-by-case basis.                     12   A. Yes.                                                      1
       13   Q. Fm talking about this particular case, sir. Is that       13   Q. Okay. Is that your testimony as to the basis for making
       14     the policy that you've learned that you must follow        14     a decision whether or not you would call backup when
       15      under those circumstances?                                15     you're on a run to arrest an individual within the City
       16             MR. ACHO: I'm going to object. He Just             16      of Warren?
       17      answered your question, and I think you're not getting    17   A. 1 don't follow the question. Can you ask it in a
       18      the answer you want, and you're asking him the same       IB     different way maybe?
       19      question again, but he answered it.                       19   Q. Okay.
       20   BY MR. MUNGO:                                                20            MR. ACHO: Can I help speed this along?
       21   Q. You still have to answer the question.                    21   BY MR. MUNGO:
       22   A. It's a case-by-case basis.                                22   Q. Youjust heard my question. She read back and your
       23   Q. And I Just want to know. I Just want to know what in      23      answer.                                                   j
       24      this particular case, what in this particular case led    24   A. Yes.                                                      1
       25      you to determine that you didn't need backup?             25   Q. Okay. And do you have any more testimony to clarify or


                                                               Page 18                                                         Page 20
        1              MR. ACHO: Hang on. I would like you to             1     add to why you did not call for backup prior to going
        2       read back his answer to that identical question less      2     out to arrest that gentleman other than what you
        3       than five minutes ago, because he already answered it.    3     already testified to in the record?
        4                                                                 4   A. I don't know.I can't — that's what I remember. And I
                         MR.MUNGO: Go ahead. You can read it.
        5              MR. ACHO: I'm not trying to give you a hard        5     don't know.
        6       time, counsel, but to speed this along you asked the      6   Q. So your question is that you don't know ifyou have
        7       same questions repeatedly, and he answered that.          7     additional information or knowledge of procedures that
        8                MR. MUNGO: That's not true.                      8      would make your decision different than what you have
        9                MR. ACHO: I can tell you verbatim wfiat his      9      already explained in the record?                              i
       10       answer was.                                              10   A. No. Your question is-                                         ;
       11                MR. MUNGO: Let her read it. Let her read        11             MR. ACHO: Objection as to argumentative.               j
       12       it.                                                      12   A. Your question's confusing, because it has many parts to
       13                MR. ACHO: Can I tell you? Because I             13     it, so I'm not following your question.
       14       remember.                                                14             MR. ACHO: It's a compound question. It's
       15                MR. MUNGO: That's not working. Let her          15      argumentative when you throw in lack ofknowledge of
       16       read it.                                                 16      procedures.
       17                MR. ACHO: Go ahead.                             17   BY MR. MUNGO:
       18                MR. MUNGO: You want her to read it, let her     18   Q. Okay. Simple. You heard her question. The question she
       19       read it. And ifthis goes a little longer, it goes a      19      read back,and the answer you gave?
       20       little longer.                                           20   A. Yes.                                                          j
       21               (Requested portion ofthe record was read         21   Q. Sir, are there any other procedures or guidelines that
       22                back 10:21 a.m.)                                22     you are obligated to follow when making a decision to      \
       23             "ANSWER: It's in the City of Warren, and he        23     call for backup when you're going to arrest someone in     |
       24             didn't have a violent criminal history."           24     the situation in which you and [)esheila Howlett were
       25                  MR. MUNGO:Okay. Go back to the question.      25      in? Ifso, put that in the record, please.



                                                                                                5 (Pages 17 to 20
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                                                               Page 21                                                       Page 23       i
       1    A. When I'm going to arrest somebody,there are no other      1       marked patrol car to be there?
       2       procednres that I have to follow when I'm going to        2    A. Yes.
        3     arrest someone.                                            3    Q. For the arrest you said yes, it was,or was not
       4    Q. Other than what you've put in record?                     4       sufficient information.                                   £
       5    A. Correct                                                   5    A. That is not necessarily suflicient information to
       6    Q. Okay. Did this person have a violent history?             6      warrant calling for a marked patrol car.
        7   A. No.                                                       7    Q. What would be the best practice to call for a marked
       8    Q. So you didn't need backup?                                8      car, or not call for a marked car under those
       9    A. That's incorrect                                          9       circumstances, sir?
       10   Q. Okay. So now you're saying that you did need it and       10   A. In my mind,it depends on the case. And in this case.
       11     you're saying you don't need it in this particular         11      it didn't matter if they got there before or after.       j
       12     situation, i thought that you needed it ifthe person       12   Q. I'm sorry?                                                i
       13      had a violent background?                                 13   A. In this case,I don't think it mattered if they would
       14   A. He didn't have a violent background.We didn't need        14      have gotten there before or after.                        i
       15      backup before we went there. We didn't have to have       15   Q. Okay. So the best practice is to wait until you arrest
       16      backup when we got there.                                 16     the guy before you called the marked car?
       17   Q. So why did you have backup then?                          17   A. Sometimes,and sometimes not                               |
       18   A. When you arrest somebody for a felony, it is our policy   18   Q. In this particular case, what was your thinking?
       19     that they be transported in a marked patroi car to the     19   A. I don't know. I don't remember.
       20      police department.                                        20   Q. Okay. So I'm going to ask you your opinion today, sir.
       21   Q. Oh,so you knew before you went there that you were        21      And in that situation, would it have been the best
       22      going to need a marked patrol car?                        22     practice to call this marked patrol car prior to making
       23   A. No.                                                       23     the arrest, or after you make the arrest, so at the
       24   Q. You didn't know that? Did you expect to arrest him for    24     time that you see the person?
       25      a felony?                                                 25   A. Calling for a marked patrol car prior to arresting


                                                               Page 22                                                       Page 24
        1   A. Yes.                                                       1      somebody is a double edged sword. When I say that,I
        2   Q. But you didn't know you needed a marked patrol car?        2      mean if a person that I want to arrest sees a marked
        3   A. Correct                                                    3      patrol vehicle, they might change their pattern of
        4   Q. You weren't in a marked patrol car, you and Desheila       4      behavior. So sometimes it's a good thing to call them
        5      Howlett, correct?                                          5      because maybe you will need them because they're
        6                                                                 6      violent and these things.
            A. Correct
        7   Q. Okay. So you needed a marked patrol car. Shouldn't you     7             Other times it's not good, because if they
        8      have called for one?                                       8      see a marked patroi car,they may change their
        9   A. We would only need a marked patrol car in the event he     9      behavior,and I might not be able to arrest them. So
       10      was arrested.
                                                                         10      it really is dependent on everything that's going on at
                                                                         11      that time.
       11   Q. In the event he was arrested. So did the marked patrol
       12     car get there at the time that you arrested him,or         12   Q. Okay. So in this particular case, the person was inside
       13     after you had arrested him?                                13      the building, correct?
                                                                         14   A. Yes.
       14   A. I don't remember. I believe shortly before, but I'm not
       15      certain.
                                                                         15   Q. And he wasn't released, correct?
                                                                         16   A. Yes.
       16   Q. They got there shortly before?
       17   A. Yes. I believe they got there shortly before, but I'm
                                                                         17   Q. So there wouldn't have been any real opportunity for
       18      not certain.
                                                                         18     him to see a marked patrol car, correct?
       19   Q. Okay. All right.
                                                                         19   A. No. There are windows in the building.
       20   A. This was sometime ago.
                                                                         20   Q. Okay. So the marked patrol car couldn't have sat around
       21   Q. All right So you had enough information to establish
                                                                         21      the comer,correct?
       22     that he was there to support your going out there to
                                                                         22   A. They could have.
       23      arrest him?
                                                                         23   Q. They could have. Did you think about that?
                                                                         24   A. I don't remember.
       24   A. Yes.
       25   Q. But that wasn't suftlcient information to notify a
                                                                         25   Q. Did you think that would have been a better practice



                                                                                               6 (Pages 21 to 24)
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       1       than to call the marked patrol car after you made the      1      could have happened on that day?
       2       arrest?                                                   2    A. The realm that most things are possible, I guess it's
                                                                         3       possible.
       3    A. In this particular case,1 don't think that would
        4      matter.                                                   4    Q. So your answer is that that is possible that it could
       5    Q. In your opinion it doesn't matter whether the patrol      5       have occurred that day that cars were sent to lesser
       6       car is there on the scene around the comer where the      6       priority runs than to your location?
       7      patrol car couldn't be seen by him,even though he was      7    A. It's unlikely, but possible.
       e      in the building detained at this clinic. You think that    8    Q. Okay. But you don't remember anything that would make
       9      it would have been a better practice to not call a         9       it unlikely,correct, on that day?
       10     marked patrol car until after you arrested him; is that    10   A. Well,I don't remember what kind of calls they were
       11     your testimony here today?                                 11      sent to.

       12   A. I need you to repeat it, because again you have a run     12   Q. Okay. All right. Thank you.
       13     on question that is complex.                               13   A. Ifthey were sent
       14   Q. Well,just say you don't understand the question.          14   Q. Okay. And so now,and I don't recall what you said.
       15   A. Okay. 1 don't understand the question,sir.                IS     sir, did you say you're the one that called the
       16   Q. Thank you. Thank you. You don't have to give me an        16     dispatch on the cell phone,or was it Ms. Howlett?
                                                                         17
       17     English lesson.                                                 A. I don't remember.
       18             MR. ACHO: Counsel, you don't have to be            18   Q. You said you didn't remember. Okay. Do you remember the
       19     argumentative. I purposely didn't object.                  19     conversation over the radio with regard to the dispatch
       20   BY MR. MUNGO:                                                20     that you had called for backup on that day for,that
       21   Q. The question is, the question is in your thinking and     21     there was a discrepancy between the car being sent to
       22     your opinion, sir, in that circumstance when you and       22      12 Mile, 12 and 10 versus-fm sorry. 12 Mile versus
       23     Desheila Howlett was there,that you didn't believe         23      12 Mile and Mound,do you recall that?
                                                                         24
       24     that it would have been the best practice to have that          A. Na
       25     patrol car sitting around the comer prior to your          25   Q. Okay. Do you recall any confusion in terms of where


                                                             Page 26                                                            Page 28|
        1      making that arrest. In your opinion, would that have       1      the car was being sent that Desheila called for backup
                                                                          2
        2      been the best practice?                                           with?
                                                                          3   A. No.
        3   A. I don't know. It depends. There are too many factors,
        4      and I don't remember all of them.                          4   Q. Do you remember any questions to you by anyone relative
        5   Q. So your answer to my question, sir, is you don't know.     5     to your working with Desheila Howlett? Were you ever
        6      correct?                                                   6     asked any questions about your working with E)esheila
        7   A. I don't know.
                                                                          7     Howlett by anyone?                                         \
        8   Q. Thank you. During that time after the car was called.      8   A. I don't know what you mean.
        9     the backup car was called, cars were sent to other          9   Q. Okay. You do know Desheila Howlett?                       |
       10     locations, and you heard that over the radio, did you      10   A. Yes.
       11      not, the dispatch radio, did you not?                     11   Q. You did work with her?
       12                                                                12
            A. I don't know. I don't remember. I don't know.                  A. Yes.
       13   Q. So that could have happened?                              13   Q. You do know what questions would be- you do know what
       14   A. It's possible.                                            14     questions about your working with Desheila Howlett
       15   Q. Okay. All right. That they were sent to other locations   15      means,right?
       16      oflesser priority than the priority in your arrest.       16   A. Not exactly. I guess that's where our confusion is
       17      correct?                                                  17      right there.
       18   A. 1 don't know that to be the case.                         10   Q. Okay. So no one ever asked you any questions about your
       19   Q. Is it possible that that could have happened?             19     working with Desheila Hewlett,or you dont understand
       20             MR. ACHO: I'd object. You're asking him to         20      that question?
       21     speculate. Go ahead. You can answer it.                    21   A. I don't know what you're asking.
       22   A. I don't remember the specific runs that they were         22   Q. Why don't you know whether or not someone asked you
       23     dispatched to, if they were dispatched.                    23     about your working with Desheila Howlett?
       24   BY MR. MUNGO:                                                24   A. Maybe it's the way that you're asking the question.
       25   Q. You understand my question is was it possible that that   25              MR. ACHO: Counsel, it's overly broad.



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       1    BY MR. MUNGO;                                                  1   A.    I'm trying to answer your question. It is like four
       2    Q. What do you understand the question to mean?               2         questions and a lot of things in there.
       3    A. I don't understand the question.                           3          Answer them one at a time-
                                                                               Q
       4    Q. You don't understand the question. You work with           4    A.    Okay. Can you ask one question at a time so that 1 can
       5      IDesheila Howlett, but no one ever asked you about your     5         answer them.
       6       working with Desheila Howlett,and you don't understand     6
                                                                               Q. You don't remember them?
       7      that question?                                              7
                                                                               A. II is like four questions.
       8    A. No.                                                        6                MR. MUNGO; Ask the question back. Read the
        9   Q. Why don't you understand that question?                    9         question to him, please.
       10                 MR. ACHO: Counsel,if I might object, I          10              (Requested portion of tiie record was read
       11      think he doesn't understand because it's vague and         11               back 10:35 a.m.)
       12      overly broad. If you could narrowly tailor it, I think     12           "QUESTION: Did anyone ever ask you were you not
       13      he could answer it.                                        13            concerned about your safety, your personal safety
       14   BY MR. MUNGO:                                                 14            while working with Desheila Howlett because she
       15   Q. Okay. He's not asking the questions. I am. This 1 my       15            doesn't gel adequate backup? Someone did ask you
       16     deposition. You are under oath. He's not under oath.        16            that, didn't they?"
       17      You can answer the question.                               17   A.    There's a double negative in there. That's what was
       18                 MR. ACHO: Sir, I'm not testifying.              18        throwing me off.
       19   BY MR. MUNGO:                                                 19   BY MR. MUNGO:
       20   Q. You can answer the question, sir.                          20
                                                                               Q- Are you an English teacher?
       21                 MR. ACHO; He has has twice.                     21   A. No.
       22   A. 1 don't know what you're asking.                           22
                                                                               Q. Then what are you?
       23                                                                 23   A. Just —
            BY MR. MUNGO:
       24   Q. When you worked with Desheila Hewlett, what did you do?    24
                                                                               Q     You're a detective?
       25   A. Investigate crimes.                                        25   A. Just a detective.



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        1
            Q- Did anyone ask you about your investigating crimes
                                                                           1
                                                                               Q-    And you're a deponent right now, and you're under oath
        2         while working with Desheila Howlett?                     2        and have to answer that question. There are two
        3   A. Yes.                                                        3        questions.
                                                                           4                MR. ACHO: Counsel.
        4
            Q. And who asked you questions about that?
        5   A.    Many people would ask about the crimes that I would      5   A.    I don't understand your question.
                                                                           6
        6        investigate, and the cases. All kinds of people would         BY MR. MUNGO:
        7         ask about the cases I would work on.                     7
                                                                               Q- Do you understand English?
        8
            Q. Did they speci fically ask you about Desheila Howlett in
                                                                           8                MR. ACHO: Counsel, you're being
        9         the context of your investigating?                       9        argumentative, and you're borderline badgering the man.
       10   A. Na                                                         10        He's answered your questions.
                                                                          11
       11
            Q. No one ever did? No one ever asked you about whether            A. Yes.
       12         or not you were worried about working with Desheila     12   BY MR. MUNGO:
       13         Howlett?                                                13
                                                                               Q.    Okay. Then listen to my question, sir. Did anyone ever
       14    A. No.                                                       14        tell you or ask you the question are you concerned
       15
             Q. And you're sure about that?
                                                                          15        about your physical safety in working with Desheila
       16    A. Yes.                                                      16     Howlett because she doesn't receive adequate backup?
       17
             Q- Were any questions asked you about your being fearful
                                                                          17   A- Nobody ever said anything like that to me.
       16      of working with Desheila Howlett because she doesn't       18
                                                                               Q- Nobody said or asked?
       19      get appropriate backup, would you be fearful of your       19   A.     Nobody's asked any question like that I don't believe
       20         life?                                                   20         Desheila didn't get adequate backup. I was never
       21    A.    Can you ask that again?                                21        fearful of working with Desheila. 1 asked her to go
                                                                          22         with me in that arrest case. If 1 was fearful, why
       22
             Q- Did anyone ever ask you were you not concerned about
       23         your safety, your personal safety while working with    23         would I ask her to go with me? I wasn't fearful of
                                                                          24         that at all.
       24         Desheila Howlett because she doesn't get adequate
       25         backup? Someone did ask you that, didn't they?          25
                                                                               Q- Okay. How long did you work with Desheila Howlett?



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       1    A. While in patrol, and then almost the entire time from      1
                                                                               Q. On those thousands ofruns?
       2       when I got promoted to detective until she hasn't been     2    A. Either one of us.
       3      at work.                                                    3
                                                                               Q. But you just said that Desheila never did, right?
       4    Q. Until she hasn't been at work. Okay. How many runs did          A. 1 didn't say that
       5       you go out with Desheila on?                               5                 MR. ACHO: Can we -
       6    A. Just because we're not assigned in a patrol car            6    BY MR. MUNGO:
       7       together, when we're on patrol, that doesn't mean we       7
                                                                               Q- You didn't say that?
       e       don't get called to go to the same run. So if 1 had to      B           MR. ACHO: Can we take a break? Would you
       9       estimate, I'd say thousands.                               9         mind?
      10    Q. You went on thousands of runs with Desheila Howlelt?       10                MR. MUNGO: Read the answer beak.
      11    A. Yes.                                                       11                MR. ACHO: Can we take a break?
      12    Q. Would tlie run sheets reflect that?                        12                MR. MUNGO: Let me finish this question,
      13    A. Yes,it would.                                              13        then you can take a break.
      14    Q, How many limes did you have to call for backup out of      14   BY MR, MUNGO:
      15       those thousands, more than once?                           15
                                                                               Q-    Okay. All right. So,sir, 1 just want to be clear on
      16    A. When we call for another car, there are many reasons       16        your testimony. You said you've gone on thousands of
                                                                          17        runs with Desheila Howlett, correct?
      17       why we might need another police car to show up.
      18    Q. That wasn't my question.                                   18   A. Yes.
      19    A. I'm trying to answer your question. So calling for         19
                                                                               Q     Okay. You said that Desheila Howlett on those
      20       backup is usually like an emergency situation. That's      20        thousands ofruns never called for backup?
      21       how I thinkof calling for backup. And it's very rare       21   A.    I didn't say that
      22       that I've ever had to call for backup. I don't know.       22
                                                                               Q- You did not say that?
      23       and I can't remember if there's ever been a time I've      23   A. Correct                                                    |
      24       called for backup in an emergency type situation when I    24
                                                                               Q.    Okay. So how many times did Desheila Howlett call for
      25       was working with Desheila.                                 25        backup on those thousands of runs?                         •


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       1    Q. Did Desheila ever call for backup while you were            1   A.    I don't know.                                             1
       2        working with her?                                          2                 MR. ACHO: Ifyou know,                           |
       3                                                                   3   BY MR. MUNGO:
             A. Not that 1 remember.
       4    Q. You don't ever remember Desheila ever calling for           4
                                                                               Q. You don't know. So then she did call for backup on some
       5        backup all the thousands of times you went on runs with    5        ofthose thousands ofruns. You just don't know how
       6        her?                                                       6        many?
       7     A. No.
                                                                           7
                                                                               A.    1 don't know if she called for backup. 1 don't know if
       8     Q. Not a one?                                                 8        she ever used it 1 don't know. 1 don't know if she         ;
       9     A. No.
                                                                           9        ever called for backup, and 1 don't know the               j
      10     Q. You would be the one that always called for backup?       10        circumstances she called for. 1 just don't know.
      11     A. No.
                                                                          11
                                                                               Q So then you have no testimony as to whether or not            »
      12     Q. Who else would call for backup?                           12        Desheila Howlett ever called for backup in the             j
      13     A. Again,sometimes we call for another car, and that's       13        thousands of runs that you and Desheila Howlett went      |
      14        not —
                                                                          14        on; is that correct?                                       -i
      15     Q. Who, you or Desheila?                                     15   A. 1 don't know with certainty.
       16    A. Oh,cither one. I don't know.                              16
                                                                               Q     Don't know with certainty. So since you don't know with
       17    Q. But Desheila never called for backup on those thousands   17        certainty, she may have called for backup on more than
       18       of runs, correct?                                         18        half ofthose runs, correct?
       19                                                                 19   A     Possible. I don't know.
             A. No. I don't remember that to be the case at all.
       20    Q. So you would be the only one calling for backup,          20                 MR. MUNGO: Okay. All right. Take your
       21                                                                 21        break.
                correct?
       22    A. No.
                                                                          22                 MR. ACHO; Go ahead. Just keep going. That's
       23    Q. Who else would call for backup between you and            23        all right.                                                     ;
       24       Desheila, sir?                                            24                 MR. MUNGO; No, now 1 need a break.
       25    A. Either one of us.                                         25                 (Break at 10:40 a.m.)



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                                                                                                                                  |
       1             (Back on the record at 10:48 a.m.)                 1       person that you were arresting?
       2    BY MR. MUNGO:                                               2    A. Prior.
       3    Q. Okay. So,Dt. Chisolm, you indicated that you had         3    Q. Prior to seeing the person. Was it prior to you
       4      called the clinic at the location where you made the      4      entering into the facilities?
       5      arrest earlier, correct? You made that call, did 1        5    A. Yes.
       6      remember that correctly? I don't want to have her read    6    Q. It was prior to you entering into the facilities. Was
       7       it back. Is that accurate?                               7      there some time that passed between your call to
       8    A. That 1 called the clinic?                                8      Officer Dahlin, and entering into the facility?
       9    Q. To determine the release time.                           9    A. Yes.
      10    A. I don't remember ifI did that or not                     10   Q. Okay. Was it like five minutes, 10 minutes, 15
      11    Q. Okay. So it could have been you or Ms. Howlett? You      11      minutes?
      12      have to verbally answer.                                  12   A. I don't remember.
      13    A. it could have.                                           13   Q. You don't remember. But it wasn't a long period of
      14    Q. Okay. And do you know whether or not,even though you     14      time?
      15      don't know who may have called the clinic, do you know    15   A. 1 don't remember.
      16       whether or not more than one call had to be made         16   Q. You don't remember. So did the car get there before you
                                                                        17
      17       because ofthe HIPAA issues that you were dealing with            went in?
      18       that they didnt want to give you information about his   18   A. Yes.
      19       release?                                                 19   Q. It did get there before you went into the building.
      20    A. I don't know.                                            20     okay. So you weren't concerned about him seeing the
      21    Q. You dont know that. Okay. All right. So more than one    21     car,and then running offor anything, right,from the
      22       call could have been made?                               22      windows ofthe facility?
      23                                                                23   A. That was still a concern.
            A. 1 don't know.
      24    Q. Okay. You did know prior to going out there that the     24   Q. You were concerned?
      25      person that you were going to arrest was going to be      25   A. Yes.



                                                            Page 38                                                          Page 40      i
       1       arrested for a felony, correct?                           1   Q. Okay. And was this the kind offacility where he was
       2               MR. ACHO: Asked and answered. Go ahead.           2     detained, this person was detained and couldn't freely
       3    BY MR. MUNGO:                                                3      leave the building?
       4    Q. Yeah, you did, but 1 want to make sure. Am I correct      4   A. I don't know.
       5      you did say yes earlier, 1 believe, correct?               5   Q. You have no clue?
       6                                                                 6   A. I don't know.
            A. Yes.
       7    Q. Okay. You also knew that the gentleman, prior to going    7   Q. You didnt find that out before you went in there?
       8       out to arrest him, had attempted suicide, correct?        8   A. No.
       9    A. Yes.                                                      9   Q. Okay. You didnt have any concem about that as a           1
      10    Q. Okay. You don't remember talking to Darlene,the          10      detective prior to going out and making the arrest as
      11       dispatcher,on your cell phone on that day?               11      to what his limitations were on his mobility and
      12    A. What's the name of the person?                           12      freedom?
      13    Q. The dispatcher. Dawn. Hold on a second. 1 may have the   13   A. I don't know.
       14      name wrong. 1 apologize. Officer Dahlin, you don't       14   Q. You don't remember. When you say you don't know, you
      15       remember talking to Officer Dahlin on your cell phone?   15      don't remember?
      16     A. I did talk to Officer Dahlin on my cell phone.          16   A. Can you repeat the question for me?                     |
       17    Q. Regarding what?                                         17              MR. MUNGO: Read the question back.              |
       18    A. Coming to the scene. Coming to that arrest location.    18              (Requested portion ofthe record was read
       19    Q. Coming to that arrest location. And that was,again.     19              back 10:53 a.m.)                                  |
       20       before or after the arrest?                             20          "QUESTION: Okay. You didn't have any concem               ;
       21    A. Before.                                                 21          about that as a detective prior to going out and          j
       22    Q. It was before the arrest. How long before the arrest?   22          making the arrest as to what his limitations were     |
       23    A. I don't remember.                                       23          on his mobility and freedom?"                         j
       24    Q. You dont remember. Was it after you saw the person      24   A. No.
       25      that you were arresting, or prior to you seeing the      25   BY MR. MUNGO:




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       1   Q. You didn't. So how did you know he would be there when    1                10:56 a.m.
       2     you got there?                                             2    BY MR. MUNGO:
       3   A. I didn't                                                  3
                                                                             Q- Let the record reflect Pm about to show the deponent          |
       4   Q. Do you usually handle your approach to arrests in that    4         Deposition Exhibit Number 1. Could you take a look at       1
       5      way with that limited amount of information about the     5         that document,sir. Let me know when you've had a
       6      person you're going to arrest?                            6       chance to review it.
       7   A. EveiTthing's on a case-by-case basis.                     7
                                                                             A.    The discrimination and sexual harassment general order.
       e   Q. I understand. And you reflecting on your life and your    8
                                                                             Q. Deposition Exhibit Number 1 has a title on it of what,
       9     experiences,is that how you handle most of your cases      9         sir?
      10      when you go out to arrest people for felony cases?        10
                                                                             A. Discrimination and sexual harassment,and it's a
      11                                                                11        general order.
           A. He did not know that he had a warrant for his arrest
                                                                        12
      12      And so the element ofsurprise was something 1 think we         Q. And it has an effective date of what, sir?
      13      relied on in that case.                                   13   A. 10 January 2003.
      14   Q. Yes, sir. But you do know that wasn't my question. Can    14
                                                                             Q- 10 January of2003. Have you ever seen that document
      15      you read my question back, please? Listen my question.    15        before?
      16                                                                16   A. Yes.
              sir.
      17   A. It's all on a case-by-case basis.                         17
                                                                             Q. When did you see that document?
      18               (The requested portion ofthe record was          18   A.    Before I've been employed as a police officer, I know
      19               read by the reporter at 10:55 a.m.)              19        it was one of the documents that we had to study for
                                                                        20        for the test to detective. I've seen it before.
      20             "QUESTION: I understand. And you reflecting on
      21             your life and your experiences, is that how you    21
                                                                             Q. And when did you study for the test for detective?
      22             handle most of your cases when you go out to       22   A.    There were two times. One in the year 2008,2009ish,
                                                                        23        and then in 2010,2011ish.
      23             arrest people for felony cases?"
      24   BYMR.MUNGO:                                                  24
                                                                             Q. Okay. Two times?
                                                                        25   A. So a few times, yes.
      25   Q. You said that a number of times, and Pm just asking


                                                             Page 42                                                                Page 44
       1      you does that happen to represent most ofthe cases         1
                                                                             Q. Okay. So other than when you were studying to become a
       2      that you go out on that you would operate with making      2        detective, have you ever seen that document?
       3      an arrest without knowing about the freedoms and the       3   A.    When we are hired by the police department, we review
       4      mobility ofthe person you're going to arrest?              4        all the general orders,so when I was first hired.
                                                                         5
       5                 MR. ACHO: Counsel, he has answered your             Q. So other than those three occasions, have ever seen           ;
       6     question, but you can answer it one more time.              6     that document before?                                              j
       7   A. Depends. It's on a case-by-case basis.                     7   A.    There may have been some training that would have had
       8   BY MR. MUNGO:                                                 8        this document, but I'm not certain.
       9   Q. What I'm asking you,sir, I know it's on a case-by-case     9
                                                                             Q.    Would your answer to that question be you don't know?          j
      10     basis, and only you know about each one of your cases.     10   A.    Yes. I don't know.                                             j
      11     Is that like halfofyour cases that you would handle        11
                                                                             Q. Okay. Thank you. All right Do you know what racial and        :
      12      them like that, or less than half?                        12        sexual harassment means?                                        1
      13   A. I can't answer that question. I would have to speculate   13   A. Yes.
      14     as to how many cases, and what information I had.So        14
                                                                             Q. What does sexual harassment mean,sir?
      15     everything Is on a case-by-case basis.                     15   A. There's two kinds. It's basically requiring favors.
      16   Q. So you don't know the answer to my question; would that   16     the quid pro quo,and then hostile work environment by
      17       be fair?                                                 17     making comments,and things like that
                                                                             Q. Like vdiat Shawn Johnson did with regard to Desheila
      18   A. Yes.                                                      18

      19                 MR. MUNGO: Let the record reflect Pm about     19        Hewlett?                                                        j
      20       to show the deponent Deposition Exhibit Number 1.        20   A. I don't know.                                                 |
      21       Could you take a look at that document,sir.              21
                                                                             Q. So you don't know. What do you mean you don't know?           |
      22                 MARKED BY THE REPORTER;                        22        What about that question you don't know?
      23                 DEPOSITION EXHIBIT 1                           23              MR. ACHO: Counsel, why are you laughing?
      24                 Discrimination and Sexual Harassment General   24   A.    I don't know what happened between Shawn Johnson and
      25                 Order                                          25        Desheila Howlett




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                                                                                                                                  |
       1   BY MR. MUNGO:                                                1    Q. Give me one?
       2   Q. Okay. Okay. And so you've never learned that there were   2    A. Okay. Being unwilling to work with somebody because
       3     allegations that Shawn Johnson had racially harassed       3      they're black. That would be an example.
       4      Desheila Howlett? You never knew about that, sir?         4    Q. Okay. What else?
       5   A. 1 never heard it with my own ears. The only thing I       5            MR. ACHO:Counsel, how many examples do you
       e      heard was what Desheila would have told me.               6      want? Why don't you give him some.
       7   Q. And that would have been with your ears?                  7    A Using disparaging comments to somebody. Using
       8   A. Yes.                                                      8     disparaging comments with any ofthese.
       9   Q. Okay. So you have heard something with your own ears?     9    BY MR. MUNGO:
      10   A. I didn't hear anything that Shawn Johnson would have      10   Q. What would be an example ofa disparaging comment that
      11     said to Desheila in that context 1 heard what              11      would constitute racial harassment based on your
      12      Desheila has told me.                                     12      understanding, sir?                                       |
      13   Q. Very good. So you do have knowledge that Shawn Johnson    13   A There's so much. It's hard to narrow it down. Anything     j
      14      had racially harassed Desheila Howlett?                   14     that would have to do with the appearance ofsomebody.
      15   A. From Desheila, yes.                                       15     or their sexual orientation,anything iike that
      16   Q. Yes. And was that prior to Shawn Johnson being            16      Anything like that
      17      disciplined for the racial harassment or aftei?           17   Q. Racial harassment?
      18             MR. ACHO; Objection. Lack of personal              18   A. For racial harassment,it would be limited to the color
      19      knowledge.                                                19     oftheir skin. Anything that had to do with the color
      20   A. I don't hnow. I don't know when he was disciplined. I     20     oftheir skin that's a negative comment negative
      21      don't know those dates or anything.                       21     connotation. Anything like that
      22   BY MR. MUNGO:                                                22   Q. Okay. Do you consider rubbing your hand through a
      23   Q. Okay. So around what period oftime did Desheila           23     female's hair as being a form ofsexual harassment?         j
      24      Howlett share this with you?                              24   A. Maybe.                                                    |
      25   A. When I was a detective.                                   25   Q. And why do you say maybe?


                                                            Page 46                                                          Page 48
       1   Q. Which would have been between what?                        1   A. If it's consensual,then it wouldn't be. If it's non
       2   A. 2016,2017.                                                 2        consensual,and it happens at work,then it clearly is.
       3   Q. 2016,2017. Okay. All right. So do you know what            3   Q. Okay. All right. What about sniffing a female,sniffing
       4     inappropriate racial conduct is that would constitute       4     a female,getting up close and sniffing, smelling a
       5      racial harassment?                                         5        female. What about that, do you consider that sexual
                                                                         6        harassment?
       6   A Generally, yes.
                                                                         7
       7   Q. What is your understanding of what constitutes racial           A. I don't know.
       8      harassment,sir?                                            8    Q. Why wouldn't you know whether or not that would
       9   A. Any comments,any mistreatment or different treatment       9        constitute sexual harassment? What is your difficulty
      10                                                                10        there?
              on the basis of race.
                                                                        11    A I would have to understand the circumstances.
      11   Q. Such as?
      12             MR. ACHO:Counsel, you're asking him to             12    Q. To sniff a coworker without their permission, what
      13      speculate. Maybe give him examples. He's not here to      13      about that? Is that enough circumstance for you in
      14      give a lesson in discrimination.                          14      order for you to give an answer, an opinion as to
      15
                                                                        15        whether or not that would constitute harassment?
           BY MR. MUNGO:
                                                                        16    A    No.
      16   Q. You realize he's now testifying for you.
      17   A. 1 understand.
                                                                        17    Q. That's not enough?
                                                                        18    A    No.
      18   Q. You're under oath, sir. You have to answer.
      19             MR. ACHO: You've told him that three times.
                                                                        19    Q. So that wouldn't constitute sexual harassment,so far
      20      He knows. And Fm not here to testify.
                                                                        20      as you're concerned, non consensual sniffing ofa
                                                                        21        coworker?
      21   BY MR. MUNGO:
                                                                        22    A Maybe.
      22   Q. Go ahead,sir. Answer the question.
      23   A Sure. Treat somebody differently because oftheir race.
                                                                        23    Q. Female coworker?
                                                                        24    A I don't know.
      24      It could be anything. It could be many things. There's
      25      a lot ofthings.
                                                                        25    Q. Sir, you said maybe,I don't know. Is your answer you



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                                                              Page 4 9                                                           Page 51|
       1     don't know?                                                  1         backgrounds. They have different belief,and ideas.
       2              MR. ACHO: You're asking him to speculate.           2      and identities.
       3     sir.                                                         3
                                                                               Q. Okay. What about diversity in the workplace?
       4   BY MR. MUNGO;                                                  4    A.    1 don't know what you mean.
       5
           Q. Is your answer you don't know?                              5
                                                                               Q. What is your understanding ofdiversity in the               >
       6   A. I don't know the context                                    6         workplace? What is your understanding of what that
       7
           Q. All right. Well, Ijust want to make sure your answer        7         means, how it would be manifested?
       8     is you don't know,correct?                                   8    A.    I don't know what you're asking.
       9   A. Yes.                                                        9
                                                                               Q. Okay. Do you know what the word manifested means?
      10
           Q- Okay. Thank you. Have you received any diversity           10    A.    Generally.
      11     training, sir?                                              11
                                                                               Q- Okay. All right. So can you identify any diversity in
      12   A. Yes.                                                       12         the Warren Police Department?                             |
      13
           Q. Since being with the Warren Police Department?             13    A. Yes.
      14   A. Yes.                                                       14
                                                                               Q. How? Do that for the record, please.                        i
      15
           Q. And when did you receive that diversity training?          IS    A.    We have people from all different types of backgrounds
      16   A. Normally at the beginning ofthe year we have annual        16         that I've worked with at the Warren Police Department
      17     training. I've received it during those time periods.       17         Sevcrai females that I've worked with.
      18
           Q. Okay. And who provided the training on diversity, sir?     18
                                                                               Q. White or black?
      19   A. I don't remember.                                          19    A. 1 worked with Desheila, and then white females.
      20
           Q. Any ofthe occasions?                                       20         There's Asian people that I've worked with.
      21   A. There was a chaplain that maybe associated with the        21
                                                                               Q. How many African-Americans work for the Warren Police
      22      Eastpointe Police Department that I remember that stuck    22         Department?                                               j
      23      out in my mind.                                            23    A.    Currently there's one.
      24
           Q. Okay. And when was that?                                   24
                                                                               Q. Okay. And how many have you ever experienced working
      25   A. 1 don't rememher.                                          25         for the Warren Police Department since you've been


                                                              Page 50                                                             Page 52
                                                                          1
       1
           Q. You don't remember whether or not it was five years                   here?
                                                                          2
       2     ago, one year ago, ten years ago?                                 A.    Desheila Howlett,and then Officer Watkins,so two
                                                                          3
       3   A.    No,I don't remember exactly when it was.                           total.
       4
           Q. Okay. So,therefore, you also don't remember what you        4
                                                                               Q. And how many years have you been working for the Warren
       5        were trained in on diversity, correct?                    5         Police Department?
                                                                          6
       6   A,    I remember the general idea. I remember the basic             A. Between 10 and 11.
       7
             outlines of the training.                                    7
                                                                               Q- Do you consider that thafs adequate diversity with
       8
           Q. What did this gentleman train you in?                       8         regard to the presence of African-Americans in the
       9   A.    That any type of harassment,or any type of thin^ like    9         Warren Police Department?
                                                                         10
      10        that are against the law, against our policies. He             A. 1 don't know.
      11        taught us about diversity.                               11
                                                                               Q- Why wouldn't you know that?
      12              MR. ACHO: Do you want to go offthe record?         12    A.    I don't work in hiring, and I don't work in personnel.
      13               MR. MUNGO: No. Hold on a second. Go ahead.        13      I don't know what the applicant pool is. I don't know.
      14        Can you read back his answer, please. My question, and   14
                                                                               Q- You just said that you understood what diversity meant.
      15                                                                 15         right?
                then his answer.
                                                                          16
      16              (Requested portion ofthe record was read                 A. Yes.
      17               back 11:0S a.m.)                                   17
                                                                               Q. But you wouldn't understand what it meant in terms ofa
      18            "QUESTION: What did this gentleman train you in?      18     having a diverse department with regards to adequate
      19            "ANSWER: That any type ofharassment, or any           19     presence of African-Americans working?
      20            type ofthings like that are against the law.         20    A. Was that a question? I didn't follow again. When you
      21            against our policies. He taught us about              21     go really long, it's hard for me to follow your
      22            diversity."                                          22         question.
      23   BY MR. MUNGO:                                                 23
                                                                               Q- I'll do the best 1 can. Okay. Do you know whether or
      24
           Q. So what is your understanding of diversity, sir?
                                                                          24        not, or is your opinion ~ strike that. Is it your
      25   A.    Diversity means that people come from different          25        opinion that two African-Americans working for the



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       1      Warren Police Department since you've been employed at     1      an answer for a fourth time.
       2      the Warren Police Department is adequate diversity with    2    BY MR. MUNGO:
       3      regard to the presence of African-Americans?               3    Q. In federal court,that is required. And I'm willing to
       4    A. I don't know.                                             4      accept your answer,sir. Ijust need one. That's all.
       5    Q. Now,the reason you don't know that is because you         5      And if you want to add anything to it, feel free to do
       6      don't understand that portion ofdiversity, the             6      that, too, okay? I just simply want to know is I asked
       7      definition ofdiversity?                                    7      you the question whether or not you havent thought
       8    A. No.                                                       8      about it and ignoring, is there a difference between
       9    Q. Why then wouldn't you know whether or not lack ofthe      9      the two, and you said that you don't know. And I asked
      10      presence of African-Americans in the Warren Police         10     you whether or not is it that you dont know,or is it
      11      Department would not constitute a diverse department?      11     that you cant answer the question, or you just dont
      12    A. I'm not in the hiring process. 1 don't take the           12      know?
      13      applicants. I don't know what the applicant pool is.       13   A. I don't know. I haven't — I don't know.
      14    Q. So you're not responsible for hiring?                     14   Q. Is that the way you want to leave your record on that
      15    A. Correct                                                   15      question, sir?
      16    Q. But you are conscious about what's going on around you.   16   A. Yes.
      17       correct?                                                  17   Q. Okay.If you have anything to add to that later, let me
      18    A- Yes.                                                      18     know,okay? Do you know what the African-American
      19    Q. Okay. And,in fact, it's part of yourjob to be             19     population is in the City of Warren?
      20      conscious of what's going on around you,correct?           20   A. I've heard estimates, but I don't know for certain.
      21    A. Yes.                                                      21   Q. What have you heard?
      22    Q. And do you have any personal concern that there are       22   A. Ten percent.
      23      no — there's only one Afncan-American police officer       23   Q. Ten percent Do you think that the Warren Police
      24      working with the Warren Police Department?                 24      Department reflects the African-American population in
      25    A. I don't know. I haven't thought about it                  25      terms ofits employment of African-Americans?


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       1    Q. You havent?                                                1   A. 1 don't know the applicant pool. I'm not in hiring.
       2    A. No.                                                        2   Q. You know that wasnt what I asked you, correct?
       3    Q. Is that because you dent care,or because you're not        3             MR. ACHO: He was responsive.
       4      Just aware that that's the case?                            4             MR. MUNGO: Do you want her to ask the
       5     A. 1 just haven't thought about it.                          5      question again?
       6    Q. Well, were you aware that was the case?                    6             MR. ACHO: Would you, please.
       7     A. Yes.
                                                                          7              MR. MUNGO: Read the question back.
       8     Q. And you just ignored it?                                  8              MR. ACHO: For the record, you have asked         |
       9     A. No. I Just hadn't thought about it.                       9       him this about 10 minutes ago, and he answered it.      ■
      10     Q. What's the difference between having thought about it    10              MR. MUNGO: About the number of
      11       and ignoring it? Is there a difference there?             11       African-Americans?
      12     A. I don't know.
                                                                         12              MR. ACHO: Yes. And he told you he doesnt
      13     Q. You cant answer that question?                           13       know the applicant pool. Those are his exact words.
      14     A. 1 don't know.
                                                                         14              MR. MUNGO: I didn't ask him about the
      15     Q. You don't know if you can answer the question,or you     15       applicant pool.
      16       cant answer the question, sir?                            16              MR. ACHO: He's not privy to it.
      17     A. I haven't thought about it.                              17              MR. MUNGO: Go ahead, ma'am. Read the
      18     Q. You said that already.                                   18       question back to him.
      19              MR. ACHO: He has said that already because         19              (Requested portion ofthe record was read
      20       he's asked and answered this question several times.      20              back 11:13 a.m.)
      21        You cant get blood out ofa stone. He doesnt know.        21          "QUESTION: Do you think that the Warren Police
      22    BY MR. MUNGO;                                                22          Department reflects the Afncan-American
      23     Q. Okay. So,sir, there's a requirement that your answer     23          population in terms ofits employment of
       24       is responsive,okay?                                      24           African-Americans?"
       25                 MR. ACHO: Can you please provide Mr. Mungo     25   BY MR. MUNGO:



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                                                                           1
       1    Q. Answer the question, please.                                      A. I understand.
       2    A. 1 don't know.I don't know about the applicant pool          2     Q. You're under oath. Answer the question, please.
       3    Q. Okay. Now,you realize that this has nothing to do with      3     A. 1 am not privy to the applicant pooL 1 don't know who
       4      the applicant pool, or don't you understand that?            4       applies to he a police officer here,so 1 don't know.
       5    A. No,I think you're presupposing something. 1 think when      5     Q. 1 asked do you believe that African-Americans are
       6      you look at it, you have to look at the applicant pool.      6       capable of passing the test?
       7      and I'm not privy to who applies to he a police              7              MR. ACHO: That's not what you asked him.
       8       oflicer.                                                    8       This is a different question entirely.
       9    Q. Okay. Do you believe it's appropriate for the Warren        9     BY MR. MUNGO:
      10      Police Department to employ at least 10 percent to           10    Q. You have to answer. You have to listen to my question.
      11      reflect the African-American population within the           11      and answer my question at all times, okay?
      12      city? In other words,that 10 percent ofthe Warren            12    A. Okay.
      13      Police Department should be African-Americans? Do you        13    Q. Do you believe that African-Americans are capable of
      14       believe that's reasonable and appropriate?                  14      passing the test and background check to became police
      15    A. I don't know.                                               15       officers in the City of Warren?
                                                                           16
      16    Q. Okay, is that because you don't understand what                   A. Yes.
      17      diversity is, or is there some other reason that you         17    Q. You believe they're capable ofit?
      18                                                                   18    A. Yes.
               don't know?
      19    A. I don't know the applicant pool. I don't know who           19    Q. Do you believe that the City of Warren is exercising
      20       applies to he a police ofTicer.                             20      diligent efforts enough to recruit African-Americans?
                                                                           21
      21    Q. Okay. Is that the way you want to answer this question.           A. 1 don't know.
      22       for the record?                                             22    Q. You don't know. Is that something you care about?
      23    A. Yes.
                                                                           23    A. it's not something — since I'm not in hiring,and I
      24              MR. ACHO: If it wasn't, he wouldn't have             24       don't control that,I don't think about that
      25       answered it. You're being very argumentative with him.      25    Q. Okay. My question is do you care about that?


                                                               Page 58                                                            Page 60

       1    BY MR. MUNGO;                                                   1              MR. ACHO: He answered your question. Asked
       2    Q. All right. So would you expect and/or support that 10        2        and answered. Dent answer it again. You keep asking
       3      percent ofthe Warren Police Department be                     3        the same questions because you dont get the answers
       4        African-Americans?                                          4        you want.
       5    A. I don't know.                                                5               MR. MUNGO: That's not responsive.
       6    Q. Okay. Do you think it would be good to have 10 percent       6               MR. ACHO: It is responsive.
       7      ofthe Warren Police Department African-Americans?             7               MR. MUNGO: And you're directing him not to
       8    A. I'm not In hiring. I don't know what the applicant pool      8        answer? Youjust directed him not to answer the
       9        Is.                                                         9        question?
      10     Q. In your opinion, do you think that would be good or not    10               MR. ACHO:I'm going to let you answer it one
      11        good?                                                      11        more time. Answer it one last time.
                                                                           12    BY MR. MUNGO:
       12    A. 1 think any qualified person could be a police officer,
      13        could be hired by the police department.                   13     Q. Do you care whether or not Warren is exercising
       14    Q. Okay. So are you saying yes to my question,or no to my     14        diligence to recruit Afncan-Americans?
       15       question?                                                  15     A. I'm not part of the hiring process.                           j
       16    A. I don't think it's a yes or no.                            16     Q. 1 didnt ask you if you were part ofthe hiring             |
       17                 MR. ACHO: He's not answering it yes or no.       17        process,did 1? 1 asked you do you care whether or not
       18   BY MR. MUNGO:                                                  18        diligence is being exercised to hire African-Americans?
       19    Q. So do you believe that there are enough                    19     A. Yes,it should be.
       20      African-Americans that are qualified to constitute 10       20     Q. Okay. Thank you.
       21       percent ofthe police department ofthe City of Wanen?       21             MR. ACHO: Do you have much more? Because
       22                 MR. ACHO: Objection. Speculation. There's        22         I'm going to need a restroom break, if you dont mind.
       23       no possible way he could know that.                         23               MR.MUNGO: Do you need to do it now?
       24   BY MR. MUNGO:                                                   24               MR. ACHO: Are you going to use all the same
       25    Q. He can't testify for you.                                   25        exhibits from yesterday?



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       1             MR. MUNGO: Yes.                                   1    A. I don't remember.
       2             MR.ACHO: So you probably have another half        2
                                                                            Q- Okay. So would it be fair to say that your knowledge of
       3      hour to go.                                              3      diversity is minimal?
       4             MR. MUNGO: Let's see. Lefs see. Fm going          4    A. No.
       5      to take a five minute break.                             5
                                                                            Q. No? You have a vast knowledge ofdiversity?
       6             MR.ACHO: Go ahead.                                6    A. No.
       7             (Breakat ll;18a.m.)                               7
                                                                            Q. Well, how would you rate your knowledge ofdiversity.
       8             (Back on the record at 11:24 a.m.)                8         five being kind ofSO percent, 10 being 100 percent.
       9   BY MR. MUNGO:                                               9         one,two?
      10   Q. Back on the record. So, Dt. Chisolm, we were talking     10   A. I've never thought about it in that context
      11      about your having received diversity training.           11
                                                                            Q. Well, try to think about it like that today, unless you
      12   A, Yes.                                                     12     have another way ofquantifying or giving us some idea
      13   Q. And do you have any other information to disclose for    13        of how rich your knowledge of diversity is?
      14     the record as to any additional diversity training that   14   A,    I think I have a normal amount of diversity.
             you've ever had since being a police officer with the     15
      15                                                                    Q. What's normal?
      16     City of Warren Police Department other than what you've   16   A. A normal.
      17     put in the record already?                                17
                                                                            Q. On that scale Ijust gave you.
      18   A. There is more diversity training. I believe we have it   18   A. I don't think I would assign it a number.
      19     every year. I'm not sure. But that's the one that stuck   19
                                                                            Q So you don't have any way of quantifying it or giving
      20     out more in my mind when you asked me about it            20        us any idea of your level ofknowledge ofdiversity.
      21   Q. Just the one training?                                   21        for the record, other than what you've told us already?
      22   A. Yes.                                                     22   A.    Not on the scale that you provided.
      23   Q. That was when you first came on as a police officer?     23
                                                                            Q. On any scale,sir, other than what you've put in the
      24   A. No.                                                      24        record, do you have any way ofdescribing how rich your
      25   Q. That was when?                                           25        knowledge is ofdiversity?


                                                          Page 62                                                                Page 64
       1   A. Later on.
                                                                        1   A.    I think it comes from general life experience and
       2   Q. Later on how long?                                       ■2        interactions with people.
       3   A. 1 don't remember exactly the year the training was.       3
                                                                            Q. Anything else?
       4   Q. But it was only one more,one. It was only one,right?      4   A. I think that forms the foundation.So I don't think you
       5   A. That I recall from memory while I'm here talking to       5     can quantify knowledge like that in a number.                I
       6      you.
                                                                        6
                                                                            Q. Any other information that would help us understand how
       7   Q. Having diversity training?                                7     much information or knowledge you have about diversity       |
       8   A. Yes.
                                                                        8     other than what you've put in the record? If you don't       j
       9   Q. Okay. Ijust want to make sure we're on the same page      9     have anything, we'll move on.                                !
      10     with the subject, okay? All right. So you only recall     10   A.    I mean,it's the general orders. The things I've
      11     having diversity training once since being with the       11        learned in classes when I went to college. Just normal
      12      Warren Police Department?                                12        everyday life.
      13   A. I recall that there have been other diversity            13
                                                                            Q- I'm talking about since you've been with the Warren
      14     trainings, but specifically I remember that one.          14     Police Department.
      15   Q. Specifically you remember that one. So you have no       15   A.    Diversity is something that we're supposed to do
      16      recollection of the others?                              16        everyday in everyday life,so I don't think you can
      17   A. I remember having the training. I don't remember what    17        quantify it with a number.
      18      was said specifically.                                   18
                                                                            Q. I'm talking about your understanding of what diversity
      19   Q. Okay. So you had other training, but you don't           19        is. That's what we're talking about.
      20     remember when you had it, or what was taught,correct?     20   A.    Okay.I don't think you can quantify it with a number.
      21   A. Yes.                                                     21
                                                                            Q- I didn't ask you that.
      22   Q. Okay. So you can't provide any testimony on when you     22   A. Okay.
      23     had it, what was taught in those classes, correct?        23
                                                                            Q.    Do you have any other information other than what you    |
      24   A. Correct                                                  24        put in the record,sir, to provide us with any
      25   Q. Okay. Or who conducted the classes,correct?              25        information as to how in depth your knowledge of



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       1       diversity is other than what you've testified to?         1      may not have ever seen the document before. And if you
       2               MR. ACHO: I'm going to object at this             2      have, let me know that. But if not, I want to know if
       3       point. This man is not here about diversity. He's not     3      you're familiar with the content of that document.
       4       in a hiring capacity. He's not the diversity director.    4               MR. ACHO: While Dt. Chisolm is reading.
       5       I know you know the diversity director, or the former     5      I'll just place a standing objection, so I don't have
       6       diversity director. This entire line of questioning       6      to object multiple times. This document is not
       7
               really is inappropriate, and I've let it go on for        7      something to which Dt. Chisolm is privy,so any
       8       about IS minutes. Please make this your last question     8      questions regarding the discipline ofShawn Johnson and
       9       regarding diversity. This man is a detective. He is not   9      this document are not only irrelevant, but call for
      10       qualified to render an opinion as to diversity. He's      10     speculation, and he does not have personal knowledge to
      11       not here for that purpose.                                11     testify to this.
      12   BYMR.MUNGO:                                                   12   A Do you want me to go through the whole document,sir?
      13   Q. Do you remember the question, sir? She can read it         13   BY MR. MUNGO:
      14       back if you don't.                                        14   Q. You can just skim it. Once you figure out that you have
      15   A. I don't know is the answer.                                15      the gist of what the document is addressing, that's
      16   Q. Thank you. Okay.                                           16      sufficient, okay? Can you determine right now what the
      17                                                                 17      document addresses?
                       MARKED BY THE REPORTER:
      18               DEPOSITION EXHIBIT 2                              18   A. DL Hewlett being racially harassed by Dt Johnson. Is
      19               Rules of Conduct - General Order                  19     that sufficient to proceed?
      20                11:29 am.                                        20   Q. I think it might be, detective, because you're
      21   BY MR. ACHO:                                                  21     knowledgeable that this incident took place,and that
      22   Q. What is that document,sir?                                 22      there was an investigation,and that ultimately Shawn
      23   A. Rules of conduct.                                          23      Johnson was disciplined for it, correct? I mean,you
      24   Q. Rules ofconduct, and it's effective date is what?          24      have knowledge directly or indirectly as to what Ijust        1
      25   A. 22 January 2003.                                           25      stated, correct?                                          |


                                                           Page 66                                                             Page 68
       1   Q. Okay. Have you ever seen that document before?              1    A. The indirect knowledge that I have about this
       2   A Yes.                                                         2      particular incident is what Dt Hewlett told me.
       3   Q. Have you been trained in that document?                     3    Q. Exactly. So you are aware ofthe incident?
       4                                                                  4    A. Yes.
           A    Yes.
       5   Q. Or the contents ofthat document?                            5    Q. Okay. Very good. So what 1 want to do is take you to
       6   A    Yes.                                                      6      the very bottom ofthose pages, sir, are little small
                                                                          7
       7   Q. And when?                                                           numbers.
       8   A. When 1 was first hired as a police officer.                 8    A. Bates.
       9   Q. Any since then?                                             9    Q. Bates numbers. You got it. And 1 want to take you to
      10   A. Again,this may have been one of the general orders         10      page five, sir. Start at the top there. Let me know
      11     that I had to review to promote to detective. 1 don't       11      once you're there.
      12       remember. But I've seen it before.                        12    A. Okay. I'm there.
      13   Q. So your answer to my question is you don't know.           13    Q. All right. So if you notice, DL Chisolm, it is               j
      14       conect?                                                   14      itemized one through 10, and 10 goes into the top of
      15   A. I saw it when I was first hired, and I don't know if       15      the page six. And there are incidents here in which
      16       I've seen it since then.                                  16       Shawn Johnson had related, that item number one.
      17   Q. Thank you, sir.                                            17       comparing Desheila Howlett to a gorilla, referencing
      18               MARKED BY THE REPORTER:                           18       Gorilla Glue. Did Ms. Howlett ever share that incident
      19               DEPOSITION EXHIBIT 3                              19       with you?
      20               Discipline - Shawn Johnson                        20    A. Yes.
      21               11:30 a.m.                                        21    Q. And number two about her heating up leftovers, and
      22   BY MR. MUNGO:                                                 22       Shawn said,"What you got for lunch today - some
      23   Q. Let the record reflect we are showing the defendant        23       chicken and ribs?" Did Ms. Howlett ever share that               I
      24       Deposition Exhibit Number 3. Take a look at that, sir.    24       with you?
      25       You tell me if you're able to identity the content. You   25    A. Yes.




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       1
           Q. That Shawn Johnson said that?
                                                                          1       know, you're going to make a stink about it. But how
      2    A. Well-                                                       2       many times ~ at what point does it become badgering or
       3
           Q- I'm sorry. Go right ahead                                   3       harassing when you ask him the same question?
       4                                                                  4    BY MR. MUNGO:
           A. No.She did not share that Shawn Johnson said that.
       5
           Q- Okay. She said that someone else said that?
                                                                          5    Q. Okay. All right. Answer the question, sir.
       6                                                                  6
           A.    Yes. Well,she said someone said that, but 1 don't             A. I didn't think about it
       7
                remember her attributing that specifically to Shawn       7    Q. Okay. Item number three, it says,"Shawn walked past my
       8        Johnson.                                                  8      disk which is directly behind his. Once he passed me.
       9
           Q. So your understanding is that someone else said that.
                                                                          9       he doubled back and leaned forward. I was sitting in
      10        and not Shawn Johnson?                                    10      my chair with my back to him. He sniffed me. I heard
      11   A.    No. My understanding is she was just complaining about   11      the sniffing sound. I said,'thank God I showered this
      12        it, and I don't remember ifshe attributed that remark     12      morning.'" Did she ever share that occasion with you.
      13        to somebody.I don't remember exactly if she attributed    13      that incident with you?
      14        it to somebody,or attributed it to nobody.                14   A. I don't remember that
      15
           Q. Well,she said here, it says here, that I was heating        15   Q. You don't remember her ever sharing that?                 1
      16        up lefiovers for lunch which smelled like butter          16   A. Correct                                                   |
      17        garlic. Shawn said,"What you got for lunch today -        17   Q. Did anyone ever share that with you, that incident with
      18        some chicken and ribs?" So you're saying that you         18      you?
      19        don't remember her saying Shawn said that. You just       19   A. No.
      20        remember her saying someone said; is that correct?        20   Q. Number four it says,"On another occasion, he brushed
      21   A. Yes.                                                        21     his hand across my head, touching my hair." Did she
      22
           Q- Okay. All right. So someone possibly other than Shawn       22      ever share that with you?
      23        said that?                                                23   A. No.                                                       1
      24   A. Yes.                                                        24   Q. "He asked me, why do all your people move to Atlanta,
      25
           Q. Okay. All right. Very good. Were there any other            25     do they not want to be around white people." Did she


                                                              Page 70                                                           Page 72
       1        African-Americans in the police department at that         1      ever share that with you?
       2        time?                                                      2   A. No.
       3   A. No.                                                          3   Q. Okay. What about item six? "He asked me on several
       4
           Q. Okay. All were Caucasian other than Desheila?
                                                                           4      occasions what's up with all the ghetto names and the
       5   A.    Gene Reid's Asian. We have Officer Rodriguez is           5      spellings, i.e., Destinee, Honey Brown,or Bentley,        i
       6        Hispanic. There are some others, but there are no other    6      etc." Did she ever share that with you?
       7                                                                   7   A. I don't remember.
                African-Americans that work for the police department
       8
           Q Okay. Okay. Very good. So other than maybe two or three
                                                                           8   Q. Okay. What about the one about the clothing, generally
       9    other racial minorities, everyone else was Caucasian?          9      color coordinated. He announces almost daily
      10   A. Yes.
                                                                          10      Desheila's color choice for the day,and in a black
      11
           Q Okay. And do you know the number ofthe police force in
                                                                          11      voice, or comments on how the matching theme is a black
      12        the City of Warren? Does 250 sound about right to you.    12      thing. Did she ever mention that to you?
      13        somewhere in that ballpark?                               13    A. Na                                                       '
      14   A     I think it's around 200.
                                                                          14   Q. Okay. What about the item eight,the dog under her         |
      15
           Q It's about 200. And out ofthose,only one
                                                                          15       bed. She tried to move,and he bit her. And Shawn said
      16        African-American that you knew of, Desheila Hewlett was   16       that- she showed Shawn her hand. He said he likes to
      17        a police officer, and was the only African-American
                                                                          17       be under there cause ofall the action that's going on.
      18        police officer, correct?
                                                                          18       Did she ever share that with you?
                                                                          19    A. No.
      19   A. Yes.
      20
           Q Was that, by the way,a satisfactory state ofaffairs
                                                                          20    Q. Do you consider that a form ofsexual harassment if, in   |
      21        to you, in your opinion?
                                                                          21       fact, it did happen? I know you said you didn't hear
      22                MR. ACHO: You know what,Fm going to
                                                                          22       this, or she never shared that with you. But ifthat
      23        object. You've asked him this question 10 different
                                                                          23       did occur, would you consider that a form ofsexual
      24        times 10 different ways, Leonard. He's answered it
                                                                          24       harassment ofShawn against Desheila Howlett?
      25        already. If 1 instruct him not to answer then, you
                                                                          25    A. Maybe.



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                                                                                                                                     |
       1    Q. Maybe. Okay. And then number nine, every time he comes     1       for itself. A document, by the way, which he did not
       2      back from training or an extended leave, he basically       2       author or prepare.
       3      thinks that Desheila stole something from him,or took       3               MR. MUNGO: He's not testifying.
       4      something from him. Did she ever share that with you?       4               MR. ACHO: I know he's not testifying.
       5                                                                  5    BY MR. MUNGO:
            A. No.
       e    Q. And then Barb was on vacation. The front door was          6    Q. Okay. So do you have any reason to believe that that is
       7      unlocked,should be unlocked by 07:30 hours. And she         7      not an accurate finding?
       8      started to work at 09:00 hours, and was unlocking the       8    A. 1 don't have any information that would lead me to
       9      door, and Shawn commented,"They'rejust going to make        9       believe that
      10      you a slave around here." Did Ms. Hewlett ever share        10   Q. Thank you, sir. All right. Do you know who Gregory
      11       that with you?                                             11     Murray is?
      12                                                                  12   A. Yes.
            A. No.
      13    Q. Do you consider those items that we have covered that      13   Q. Who is he?
      14       Ms. Hewlett did share with you, do you consider those      14   A. He was the diversity coordinator or director.
      15       statements made, ifthey were made, to be a form of         15   Q. How did you come to learn that?
      16                                                                  16   A. I'm not sure. I don't remember.
               racial harassment?
      17    A. Yes.
                                                                          17   Q. Okay. All right. Did you ever receive any information
      18    Q. Okay. And you're saying that — okay. 1 want you to         18      from your supervisors regarding the work that Gregory
      19      take a look at page 17, sir. I want you to read that        19      Murray was doing with the Warren Police Department as a
      20      paragraph there, please, and tell me whether or not it      20      diversity coordinator?
                                                                          21
      21       is your understanding that that paragraph does state            A. I don't know.
      22       that the investigation concluded that Dt. Shawn Johnson    22   Q. Okay. Did you ever receive any memos or any
      23       did racially harass DL Howlett?                            23      instructions from the police department or your
      24    A. What was the question?                                     24      supervisors regarding diversity work that Gregory         j
      25    Q. Yeah. Whether or not your conclusion from reading that     25      Murray was engaged in for the Warren Police Department?


                                                            Page 74                                                             Page 76     i
                                                                           1
       1       is that there was a determination by the department             A. I don't know.

       2       that Dt. Shawn Johnson did, in fact, racially harass        2   Q. Okay. Now,when you say you dont know,that basically
       3       Desheila Howlett?                                           3      means not that you recall?
       4    A. Yes.                                                        4   A. Right
       5    Q. Okay. You did read that already?                            5   Q. Or that you did not?
       6    A. Yes.                                                        6   A. I don't know.I don't know ifI received it or not 1
       7    Q. And that is your understanding?                             7      don't know if the supervisor sent it
       8    A. Yes.                                                        8   Q. Got it. So nothing comes to your memory that you did.
       9    Q. Do you have any reason to believe that that should not      9      in fact receive the information, correct?
      10        have been sustained as racial harassment against          10   A. Yes.
      11        Desheila Howlett?                                         11   Q. Okay. Got it. Okay. Are you familiar with the Barbara
      12    A. Against Shawn Johnson?                                     12     Beyer incident with Desheila Howlett?
      13    Q. I'm sorry. I'm sorry. Thank you,sir. Do you have any       13   A. From what Desheila told me.                                   «
      14      reason to believe that the finding that Shawn Johnson       14   Q. What did Desheila tell you?                                   j
      15        did racially harass Desheila Howlett would be- strike     15    A. Barb Beyer,she's a secretary that works for the police |
      16        that. Let's do it over again.                             16      department and she was having an issue with somebody
       17              Ek)you have any reason to believe that what        17      trying — at the counter for some reason. And that Barb
       18       you Just read on page-                                    18      said something to Desheila with the N word.
       19              MR.ACHO: 17.                                       19    Q. What was Ms. Beyer's race? What is her race?
       20   BY MR. MUNGO:                                                 20    A. White.
       21    Q. Page 17, sir, where it was concluded that Shawn Johnson   21    Q. Okay. And she used the N word?
       22       did, in fact, racially harass Desheila Howlett was not    22    A. Yes.
       23       an accurate finding?                                      23    Q. And just for the record, I'm going to say it, okay,and
       24              MR.ACHO: 1 would object as to a lack of            24      only for that purpose, because we have people that will
       25       personal knowledge and standing. The document speaks      25       need to know for certain what we're talking about.
                                                                                                  ■          ■     i- -i
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                                                                                                                                       |
       1            MR. ACHO: I would object that you don't              1     officer in her report writing abilities. We work hand
       2     need to use the word. It's inflammatory. Everybody on      2      in hand with people a lot
       3     the planet knows what the N word is.                       3    Q. She couldn't write a report on her own,could she?
       4   BY MR. MUNGO:                                                4    A She had difficulties writing concise reports on her
       5   Q. She used the word nigger,correct?                         5      own,and deciding which actions to take in cases.She
       6   A. Yes.                                                      6      would usually talk about her cases from start to
       7   Q. And how did [)eshei!a Howlett articulate to you that      7      finish,and then ask what do you think I should do?
       8     Ms. Barb Beyer used that word?                             8      What should I do? I have my own cases to worry about
       9   A. In a complaint about the person that was at the           9      and I would try to guide her when I can, but those
      10      counter.                                                  10     things as a police officer is to try to interact — try
                                                                        11
      11   Q. Okay.                                                             to be able to make decisions on cases like that and to
      12   A. In some kind of rant is what Desheila Howlett told me.    12      determine the proper course ofaction.
      13   Q. And did Desheila Howlett tell you that she used that      13   Q. It's possible that you probably had the greatest amount
      14     word repeatedly?                                           14     ofexperience in working with her out of any police
      15   A. Yes.                                                      15     officer here, is that fair to say, given all the runs
      16   Q. Okay. All right. And did I>esheila explain to you she     16     that you went on?
                                                                        17
      17     was disturbed by that incident?                                 A. Yes.
      18   A. Yes.                                                      18   Q. And you would describe her as a substandard police
      19   Q. Okay. How did Desheila explain to you that she was        19      officer?
      20      disturbed?                                                20   A Yes.                                                        i
      21   A. She was upset by it. She was upset in how she related     21             MR. ACHO: Okay. I have nothing further.
      22      it to me, how she told me it.                             22                   RE-EXAMINATION
                                                                        23   BY MR. MUNGO:
      23   Q. Okay. All right. Do you believe that if Mr. Murray,
      24      Gregory Murray, had aggressively pursued diversity work   24   Q. Okay. So are you aware of what her performance
                                                                        25      evaluations were?
      25      for the City of Warren Police Department, and other


                                                           Page 78                                                               Page 80
                                                                         1
       1      governmental units, and Fm asking your opinion now,do          A. No. Not at all.
       2      you believe had he aggressively pursued diversity work     2   Q. Okay.
       3      and initiatives within the city government,that the        3   A. I don't believe we have performance evaluations.
       4      white citizens would have given the mayor a backlash       4   Q. So you are never evaluated with regard to your
       5      for doing so?                                              5      performance as a police officer at the Warren Police
       6   A. I don't know.I don't know the answer to that question.     6      Department?
       7   Q. Okay. Do you believe that there is any racism being        7   A. We don't have performance evaluations. I'd say that our
       8     practiced and was being practiced at the time               8     performance is continually evaluated, but I've never
                                                                         9      had an evaluation like a document that is filled out.
       9      Ms. Howlett was employed? Do you believe there was any
      10     racism being practiced in the Warren Police Department?    10   Q. Okay. But you are evaluated?
      11   A. You brought up the two examples that I know abouL         11   A. In general, yes.                                               j
      12      Other than that, no.                                      12   Q. In general. And do you have any reason to believe that         I
      13             MR. MUNGO: Okay. I don't think 1 have              13      Desheila Howlett was not evaluated in her work?
      14      anything further at this time.                            14   A. Do I have ~ double negative. Do I have any reason to
                                                                        15      that believe that Desheila Howlett has not been -can
      15                      EXAMINATION
      16   BY MR. ACHO:                                                 16      you say it again?
      17   Q. Describe Desheila Howlett as a police officer in terms    17   Q. Do you have any reason to believe that Desheila Howlett
      18      ofa scale ofone to 10 like Mr. Mungo used.                18      was not evaluated as a police officer while at the
      19   A. I don't like to use scales but —
                                                                        19      Warren Police Department?
      20   Q. You don't have to use scales.                             20   A. I don't know that I don't know what you're asking.
      21           MR. MUNGO: Thank you for being an equal              21   Q. All right. So was Desheila Howlett ever evaluated with
      22     opportunity witness.                                       22      regard to her performance as a police officer?
      23                                                                23   A. I don't know.
           BY MR. ACHO:
      24   Q. Just describe it.                                         24            MR. ACHO: I would object as to speculation.
      25   A. In working with her,she was a substandard police          25      Lack of personal knowledge.



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       1   BY MR. MUNGO;                                                 1       would you compare her electing and attending report       \
       2   Q. Okay. So you have no idea whether or not her report        2       writing versus the training that you elected to attend?
       3     writing was considered adequate by her supervisor, do       3       What would be the difference?
       4      you?                                                       4    A. Report writing b perhaps a more basic skill than other |
       5   A. She told me one time she had to go to report writing       5      training that I've attended.
       6      training. But I never talked to any of her supervbors,     6    Q. Okay. But still you needed assistance in that area.
       7     or anything like that                                       7      You needed to develop further in the area that you
       8   Q. So your answer is that you don't know how her              8      elected to get training in, correct?
       9     supervisors evaluated her report writing?                   9    A. Yes.
      10   A. Other than she went to report writing training.            10   Q. Okay. Is there a difference between her needing to
      11   Q. No. That wasnt my question about whether she went to       11     develop in a particular area that you didn't need to
      12      report writing training.                                   12     develop in, versus her not needing to develop in a
      13             MR. ACHO: No,that is his answer.                    13     particular area that you needed to develop in? Do you
      14   BY MR. MUNGO:                                                 14      see a difference there other than your race that you
      15   Q. My question was do you have any information as to how      15      would characterize her as being a poor,and you not
      16     her supervisors evaluated her report writing?               16      being poor?
      17   A. The information that I have is that she told me she had    17   A. Can you reask the question?
      18     to go to a report writing class. That's what I have.        18   Q. Yeah. Were you poor in the areas you elected to — was
      19   Q. Did she tell you her supervisor sent her there?            19     your performance poor in the areas you elected to
      20   A. I don't remember.                                          20     attend training in?
      21   Q. So you don't know how her supervisors evaluated her        21   A. The trainings that I've elected to attend v/en more
      22      writing, do you?                                           22     advanced police type trainings that are not every day
      23   A. No.                                                        23     type police activities. So that's why I would attend
      24   Q. Thank you. And insofar as her indecisiveness, did her      24     those trainings to get those additional type skills.
      25     supervisor ever share with you that she was indecisive      25   Q. So you were never deficient in any area of your


                                                               Page 82                                                           Page 84
       1      about, or wasn't able to make decisions?                    1     performance as a police officer, right?
       2   A. No.                                                         2   A. No. I have, you know, made mistakes just like every
       3   Q. Well, you have to let me finish my question, sir.           3     other police officer, I'm sure,and but I've never had
       4   A. Sure.                                                       4     to go to a training,or anything like that,for some of
       5   Q. Did you ever come across any knowledge, any information     5     the basic police type training.
       6     that her supervisors considered her incapable of making      6   Q. You never elected to go to the training?
                                                                          7
       7     decisions regarding her cases?                                   A. Right
       8   A. No.                                                         8   Q. Okay. Because you thought that you didn't need it?
                                                                          9
       9   Q. Okay. Have you ever had to attend any training for              A. Yes.
      10     anything, or were you just okay in every area ofyour        10   Q. Okay. So do you consider yourselfa superior in police     !
                                                                         11       abilities and skills to Desheila Howlett?
      11     performance as a police officer?
      12   A. I've had to attend mandatory annual training. I've         12   A. In comparison to Desheila?
      13     attended optional training that we put in for. So I've      13   Q. Um-hmm.
                                                                         14   A. Yes.
      14     attended a lot of training during my time as a police
      15      officer.
                                                                         15   Q. k that because ofyour gender or your race?
                                                                         16   A. No.
      16   Q. So you've elected to do training?
      17   A. Yes.
                                                                         17              MR. ACHO: Object to that.
                                                                         18   BY MR. MUNGO:
      18   Q. Okay. And do you know whether or not Desheila Howlett
      19      had elected to attend report writing training?
                                                                         19    Q. What are you comparing that to? Why would you draw           \
      20   A. I don't know.
                                                                         20      that conclusion, sir? How are you comparing Ms.
      21   Q. So you have no clue whether or not she elected to do
                                                                         21      Howlett to yourself?
      22      it, or whether she was forced to do it?
                                                                         22    A. The ability to make decisive decisions in complex
      23   A. Correct
                                                                         23      situations. The ability to multitask and prioritize
      24   Q. Okay. All right So why would you make a point about
                                                                         24      cases. The ability to handle cases well. Eliciting
      25     her report writing? Well, let me strike that. How
                                                                         25      confessions from suspects through interrogations.



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       1     Things like those measures.                               1    Q. Okay. And you don't have the support of her supervisor
       2   Q. Okay. And who made those evaluations, her supervisor     2       in that regard, correct?
                                                                       3    A. I don't know if I do or not I haven't asked the
       3     or you?
       4   A. No. You asked me why I consider my police skilis         4      supervisors to compare and contrast this.
       5     superior to Desheila, and that would be why,those         5    Q. Would your answer to my question be, no, you don't have
                                                                       6       it?
       6     types of areas.
                                                                       7
       7   Q. So that's your evaluation ofher?                              A. I don't know is the answer.
       8            MR. ACHO; And thafs what you asked him             a    Q. You dont know if you have the support of her
       9     for, his evaluation.                                      9      supervisor in that opinion?
      10   A. Right                                                    10   A. I don't know. 1 didn't talk to her supervisor about our
      11             MR. ACHO: Right?                                  11     performance.
      12            MR. MUNGO: Put an objection on the record.         12   Q. So you don't have one then, do you? You don't have the
      13            MR. ACHO: No,because you're being                  13      support, correct?
                                                                       14
      14     argumentative.                                                 A. 1 don't know if 1 do or not
      15            MR. MUNGO: Tell me when you're done.               15               MR. ACHO: He already answered that.
                                                                       16
      16            MR. ACHO: I'm done. Stop being                          BY MR. MUNGO:
      17     argumentative with him, please.                           17   Q. Did you talk to him about it?
                                                                       18
      18            MR. MUNGO: All right. Read the question                 A. No.
      19     back, please.                                             19               MR. ACHO: He's answered the question.
                                                                       20
      20           (Requested portion ofthe record was read                 BY MR. MUNGO:
      21            back 11:S3 a.m.)                                   21   Q. Then you don't have it. You couldn't have it if you
      22        "QUESTION: So that's your evaluation of her?"          22      didn't talk to him about it.
      23   BY MR. MUNGO:                                               23               MR. ACHO: You're testifying for him now.
      24   Q. Answer the question, please.                             24      counsel.                                                  1
      25   A. Yes.                                                     25   A. You're mischaracterizing what I'm trying to say.


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       1   Q. Okay. Not her supervisors?                                1   BY MR. MUNGO:
       2   A. Correct.                                                  2   Q. So then the answer to my question is you don't know.
       3   Q. Okay.                                                     3      correct?
       4   A. I don't know what they think.                             4   A. I don't even know what question you're asking me now.
       5   Q. So you perceive yourself as being superior to Desheila    5               MR. MUNGO: Read the question back. Read the      '
       6      Howlett as a police officer in skill, in the skill        6      question back.
       7      area, correct?                                            7               MR. ACHO: That was his answer, counsel.
       8   A. Yes.                                                      8              (Requested portion ofthe record was read
       9   Q. Okay. And other than your personal evaluation ofher       9               back 11:55 a.m.)
      10     performance,the only difference between the two of you    10            "QUESTION: You don't know if you have the support
      11      is that she's a female, and she's black, and you are a   11            of her supervisor in that opinion?"
      12      male and white, correct?                                 12   BY MR. MUNGO:
      13             MR. ACHO: Object. Thafs mischaracterizing         13   Q. Just answer the question, and whatever you give me I'll
      14      his testimony. It's inflammatory. It's argumentative.    14      take it and move on.
      15   A. It's not even close to what I said.                      15   A. I don't know what my supervisors think of her versus
      16               MR. ACHO: Geez.                                 16      me.

      17   BY MR. MUNGO:                                               17   Q. Okay. Was your supervisor the same as hers?
      18   Q. But you are white, and she is black, correct?            18   A. Yes. Well,for some period.
      19   A. Yes.                                                     19   Q. Okay. All right.                                          |
      20   Q. And you are a male,and she is a female, correct?         20   A. We were on the same shift,and in the detective bureau     !
      21   A. Yes.                                                     21      our supervisors were the same. There was a period
      22   Q. Okay. And it's your opinion that you are superior in     22      where we weren't on the same shift,so we had different
      23     skill as a police officer than Desheila Hewlett,          23      supervisors.                                              i
      24      correct?                                                 24   Q. But regardless, you have no clue of what their            j
      25   A. Yes.                                                     25      evaluation of her performance is?



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       1             MR. ACHO: Asked and answered.                       1      complaint to you that you felt that you should take to
       2   BY MR. MUNGO:                                                 2      management that she was being racially or sexually
       3   Q. Correct?                                                   3       discriminated against or harassed?
       4             MR. ACHO: Five times.                               4    A. No. She would tell me about things after the complaint
       5   A. I don't know what their evaluation is.                     5       process. After things had already happened,after she
       6   BY MR. MUNGO:                                                 6       had already told people about them.
       7
           Q. Okay. Thank you. All right. So do you believe that         7    Q. Did you ever witness anything that occurred to Ms.
       8      Desheila Hewlett was racially harassed while she was a     8      Howlett that you felt that you should take to
       9      police ofTicer at the City of Warren Police E)epartment?   9       Ms. Howlett? In other words, was she being
      10   A. Based on the documents that you provided me with those     10      discriminated against on the basis of her race or sex?
                                                                         11
      11     two people, yes.                                                 A. No.
      12   Q. Okay. But other than that, you don't see any racist        12             MS.lUE-O'DONNELL: Thank you.
      13                                                                 13             MR. ACHO: I think that's all.
              animus or attitudes toward Desheila Howlett as far as
      14      your experience and recollection goes?                     14                    RE-EXAMINATION
      15                                                                 15   BY MR. MUNGO:
           A. Correct
      16   Q. Okay. Okay. There are no racist attitudes in the Warren    16   Q. And it is not your testimony that Desheila Howlett was
      17     Police Department,in your opinion?                          17     not racially harassed in other ways while she was at      i
      18   A. Correct.                                                   18      the Warren Police Department, correct?                   |
      19   Q. Okay. Everybody there has embraced and accepted            19   A. That double negative gets me every time. Can you ask     1
      20      African-Americans?                                         20     it straight,ask the question straight to me?
      21   A. Yes.                                                       21   Q. Okay. So it is not your testimony ~
      22             MR. MUNGO: Okay. I have nothing further.            22   A. it is not my testimony.
      23                    RE-EXAMINATION                               23   Q. In other words, you're not testifying that Desheila
      24   BY MR. ACHO:                                                  24     Howlett was not discriminated against while she was at
      25   Q. 1 have a question, and then my co-counsel, Ms.             25     the Warren Police Department,correct? That is not


                                                             Page 90                                                           Page 92
       1       O'Donnell will have a question or two for you. Are you     1      what you're testifying here?                             j
       2       aware that Desheila had been fired by two other police     2   A. The two examples you gave me were the examples ofthat
       3       departments?                                               3   Q. Okay. So my question is outside ofthose two examples.
       4    A. No.                                                        4     are you saying that no other discrimination occuned?
                                                                          5
       5    Q. She never shared that with you?                                A. Yes.
       6    A. She characterized leaving a police department before.      6   Q. To Desheila Howlett while she was with the Warren
       7       but she never told me she was fired.                       7      Police Department?
       8    Q. So you ~                                                   8   A. To my knowledge, yes.
       9    A. I'm sorry. 1 take that back. I do remember there were      9   Q. To your knowledge. Okay. So you can't exclude the
      10       two police departments. She talked to me about Detroit    10     possibility they had occurred?
      11       and another police department,suburban police             11             MR. ACHO: Object as to speculation.                   j
      12       department, Royal Oak maybe. And she characterized        12   BY MR. MUNGO:
      13       leaving those departments to me. That's what I            13   Q. In other instances, correct?
      14       remember.                                                 14   A. I don't know.
      15    Q. Is the general consensus or opinion in the City of        15             MR. MUNGO: Very good. That's good enough.
      16       Warren Police Department that Desheila was a              16                    RE-EXAMINATION
      17       substandard or even incompetent police officer?           17   BY MR ACHO:                                                 |
      18    A. Yes.                                                      18   Q. So the two incidents that Mr. Mungo pointed out,Shawn        i
      19    Q. Do you think it's because of her race or her gender?      19      Johnson, Barb Beyer, are you aware that the City of
      20    A. No.                                                       20      Warren Police Department took disciplinary action
      21              MR. ACHO: 1 believe Ms. O'Donnell has some         21      immediately against both ofthose individuals for the
      22       questions.                                                22      harassment?
      23                      EXAMINATION                                23   A. Yes.
      24   BY MS. RAE-O'DONNELL:                                         24   Q. Or discrimination?
      25    Q. Just a question, sir. Did Ms. Howlett ever bring any      25   A. Yes.




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          Q. And that's what you would have expected a police
             department to do, correct?
          A. Yes.
                           RE-EXAMINATION
          BY MR. MUNGO:
          Q. Are you aware ofan instance with the fue department
            where the lieutenant alleged that a Cuban was the
            department nigger?
          A. No.
          Q. And you never heard that?
          A. No.
                    MR. MUNGO: Okay. All right. I'm done.
                    MR. ACHO: I'm done, too. Thank you.
                    MARKED BY THE REPORTER:
                    DEPOSITION EXHIBITS
                    Affidavit of Gregory A. Murray
                     12:00 p.m.
                    MARKED BY THE REPORTER:
                    DEPOSITION EXHIBIT 6
                    Resignation Letter from Gregory A. Murray
                     12:00 p.m.
                    (Tlie Deposition was concluded at 12:00 p.m.
                 Signature ofthe witness was not requested by
                 counsel for the respective parties hereto.)



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                    CERTIFICATE OF NOTARY
          STATE OF MICHIGAN )
                     )SS
          COUNTY OF WAYNE )


                     I, JOANNE MARIE BUGG,certify that this
             deposition was taken before me on the date hereinbefore
             set forth; that the foregoing questions and answers
             were recorded by me stenographically and reduced to
             computer transcription; that this is a true, full and
             correct transcript of my stenographic notes so taken;
             and that 1 am not related to, nor ofcounsel to, either
             party nor interested in the event of this cause.




                         JEANNE MARIE BUGG CSR-2S
                         Notary Public
                         Wayne County, Michigan
                         My Commission expires: 2-26-2019




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